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                                 EXHIBIT 1
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                                                                       Orange, 01/16/2020 of 41 AM.
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30-2020-01123351-CU-WT-CJC - ROA # 7- DAVID H. YAMASAKI, Clerk of the Court By Isia Vazquez, Deputy Clerk.


                                            SUMMONS                                                         I                  FORCOURTUL4EORLY
                                                                                                                           tSOLOPARA USO DELA CORTEJ
                     (CITAC/ON JUDICIAL)
   NOT(CE TO DEFENDANT:                                                               -
   (AVlSO AL DEMANDADO):
   WELLS FARGO & COMPANY and WELLS FARGO BANK, N.A. a
   De(aware Corporation; SHERRI PARKS, an individual, and DOES 1-20
   YOU ARE BEING SiJED BY PLAINTIFF:
   (LO ESTd DEMANDANDO EL DEMANDANTE):
   ALEXANDER AGUIl2RE, an individual

    NOTICEI You have been sued. The court may decide against you without your being heard unless yau respond within 30 days. Read the information
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fite a written response at this court and have a copy
    servetl on the piaintiff. A ietter or phone call WIII not protect you. Yobr written response must be in proper legal forrn tf you want the court to hear yaur
    case. There may be a court form that you oan use for your response. You can flnd these court forms and more infonnation at the Califomie Courts
    Online Sel( Help Center (www.courtinfo.ca.gov/selthelp), your county taw library, or the courthouse nearest you. If you cannot pay the filing fee, ask
    the court olerk for a fee waiver form. If you do not rile your response an time, you may lose the case by defauit, and your wages, money, and propetty
    may be taken without fu.rther waming from fhe court.
      There are other legal requirements. You may want to call an attomey right away. tf you do not know an attomey, you may want to call an attomey
    refemil service. If you cannot afford an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
    these nonprofit groups at the Califomia Legal Services Web site (www.lawhelpcalifomla.org), the Califomia Courts Online Self-Help Center
    (www.courdMo.ca.gov/seNhelp), or by contacting your local court or ccunty bar associalion. NOTE: The court has a statutory Ilen for waived fees and
    costs on any settlement or arb'rtration award of $10.000 or more in a cnAl case. The court's tien must be pald before the oourt wlll dlsmiss the case.
    lAV1S0! Lo han demandedo. Si no responde dentrro de 30 dias, la corte puede deeldiren su contra sln escucharsu versl6n. Lea la informaei6n a
    conunuacidn.
      Tiena 30 D/AS DE CALENDARIO despuds de que ta entreguen esta citacF6n y papeleslegales para prasentar una respuesta por escrito en esta
    corte y hacer qua se antregue una copua at demandanle. Una carta o una ltamada telefdnica no lo pmtegen. Su respuesta por escrito fiene que estar
    en formato legal oorrecto si desea que pmcesen su caso en ta corte.. Es posible que haya un forrnulario que usted pueda user para su respuesta.
    Puede enconUar estos formularios de la corte y rn6s informaci6n en et Centro de Ayude de las Cortes de Califomia (wwwsucorte.ca.gov), en la
    blblloteca de leyes de su condado o en la corte que le quede mes cerca. Si no puede pagarla cuota de presentac/bn, pida al secretario de la corte
    que le dA un formulario da exencidn de pago de cuotas. Si no presenta su n:spuesta a tiempo, puede perder el caso por incumplimiento y la corte re
    podtd qultarau suefdo, dinero y blenes sin m8s advertencla.
      Hay otros ►mqufsitos legales. Es recomendable que !lame a un abogado Inmediatamente. Si no conoae a un abogado, puede llamar a un servicio de
    remisibn a abogados. Si no puede pagar a un abogado, es posible qrre cumpla con !os requlsltos para obtenerserviaios legates gratuitos de un
    pragrame de send;los 1eg€!as afn frnas da tucm. Pui,de enconirar estos grupos sin fines de lucro en el sllia web de Califomia Legal Se►vices,
    (www.lawhelpcalifomla.org), en el Centro de Ayuda de tas Cortes de Catifomfa, (www.sucorte.ce.gov) o ponl6rtdose en confacto con la corte o ef
    colegio de abogadas locales. AVISO: Porley, la carte tiene derocho a reclamar las cuotas y los costas exentos porimponer un gravamen sobre
    cualqufer rearperaclbn de $10,000 8 mhs de vatorrecibida medianfe un-acuerdo o una.concesidn de arbilraie en un caso de denacho cJvfl. Tiene que
    pagar el gravamen de ta corte antes de que !a coRe puetla desecharet casc.
   The name and address of the court is:                                                                    I cr.sE NUMaeR
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   (EI nombre y direccibn de la corte es):
                                                                                                            L
                                                                                                                   30-2020-01123351-CU-WT-CJC
   SuperiorCourt ofCalifornia Caunty of Orange
   700 Civic Center Drive West, Santa Ana, CA 92701
   The name, address, and telephone number of plaintifPs attomey, or pleintrff without an attamey, is:
   (EI nombre, la dlreccidn y el nrSmero de feldfono de/ abogado del demandante, o del demandanta que no tiene abogado, es):
   Brian M. Heit, Esq. 340 South Lemon Avenue, Suite 8933, Walnut, CA, 91789
             01 ji 6/2020                                                                                                                              , D.epuiy
   DATE:                                                                          Clerk, by
   (Fecha) DA1l I D H. YAM ASAKI, C l e rk of th e C o u rt                       (Secretario)                                                       _(Adjunto)
   (For proof of se►vice of this summons, use Proof of Service of Summons (form POS-0 i 0).)                                       I s i a 1! az q u e z
   (Para prueba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-090)).
                                     NOTICE TO THE PERSON SERVED: You are served
    [sea.]                           1. C] as an individual defendant.
                                     2. 0 as the person sued under the ftctitious name of (specify):

                                 /.
        r                        C       3, ® on behalf of (specffy):         Wells Fargo & Company
       -
       f                          X
                                             under. ® CCP 416.10 (cqrporation)                      CCP 416.60 (minor)
                                                    0 CCP 416.20 (defunat corporation)         C] CCP 416.70 (consenratee)
                                                   [~ CCP 416.40 (associatiori or partnership)      CCP 416.90 (authorized person)
           J/t t~~~)•r~t   i~~t~~~ •
                                                         other (specify):
                                         4. = by personal delivery on (date);

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        1123351-CU-WT-CJC - ROA # 2- DAVID H. YAMASAKI, Clerk of the Court By Kari Frumento, Deputy Clerk.


       Brian M. Heit, Esq; (State Bar No. 302474)
  1    Phillip D. Viramontes II, Esq. (State Bar No. 315274)
  2    HEIT.LAW GROUP, P.C.
       340 South Lemon Avenue, Suite 8933
  3    Walnut, California 91.789
       Telephone: (310) 744-5227
  4
       Email: br.ian~a,heitlawgroup.com
  5    Attorney for Plaantzff, ALEXANDER AGUTRRE
  6
  7                               SUPERIOR COURT OF THE STATE OF CALIFORNIA

  8                                       FOR THE COUNTY OF ORANGE
  9
           ALEXANDER AGUIRRE, an individual,               CASE No.     30-2020-01123351-CU-WT-CJC
10                                                                      Judge Gregory H. Leuvis
11                 Plairitiffs,                                     CJNLIIVIITED JURISDICTION
                                                                  (Amount demand exceeds $25, 000)
12         vs.              '                              COMPLAINT FOR DAMAGES:
13                                                           1. Retaliation
           WELLS FARG.O & COMPANY and                        2. Failure to Prevent Discrimination,
14         WELLS FARGO BANK, N.A. a                             Harassment or Retaliation
           Delaware Corporation; SHERRI PARKS,               3. Sex Discrimination
15         an individual, and DOES 1-20                      4. Negligent Hiring, Training, Supervision and
16                                                              Retention
                  Defendants.
17
                                                                       DEMAND FOR. JURY TRIAL
18
19
20
21
22
23
24
                 Plaintiff ALEXANDER AGUIRRE; an 'tndividual, hereby complain against Defendants
25
       FARGO & COMPANY and WELLS FARGO BANK, N.A. a Delaware Corporation; SHERRI PARKS,
26
       individual, and DOES 1-20, inclusive, for i) Retaliation, ii) Failure to Prevent Discrirrsination, Harassmi
27
   or Retaliation, iii) sex discrimination, vi) negligent training, retention, or hiring as follows:
28

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                                            FIRST CUMPLAINT FUR DAMAGES
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 1                                                I.      PARTIES

 2           1.      Plaintiff ALEXANDER AGUIRRE is an individual, who at all times herein is, and was,

 3 I resident of the County of Orange, State of California.
 4           2.      Defendant WELLS FARGO & COMPANY and WEL.LS FARGO BANK, N.A. is a

 5    Delaware Corporation organized under the Laws for the State of Delaware, registered with the California

 6 I Secretary of State, and located, among other locations, in Orange County California.
 7           3.      Defendant SHERRI PARKS, is an individual, who, based upon information and belief, at all

 8 I times herein is, and was, a resident of the County of Orange, State of California. Defendant, SHERRI
 9    PARKS is an employee of Defendant WELLS FARGO & COMPANY and WELLS FARGO BANK, N.A..

10           4.      Plaintiff is ignorant of the true names and capacity of defendants sued herein as DOES 1-

11 1 20 inclusive, and therefore sues these defendants by such fictitious names. Plaintiff will amend
12    Complaint to allege their true names and capacities when ascertained. Plaintiff is informed and believes

13    and based thereon alleges that eacli of the fictitiously named defendants are responsible in some manner for

14    the injuries to the Plaintiff as alleged herein, and that such injuries as herein alleged were proximately caused

15    by such defendants.

16           5.      Plaintiff is informed and believes and based thereupon alleges that at all relevant times

17 I herein mentioned each of the Defendants and Does l- 20, inclusive, were the agents, servants and
18    einployees, partner, predecessor-in-interest, successor-in-interest, beneficiary, executor, fictitious

19    business name, trustee, subsidiary, related/affiliated entity, assignee, assignor, legal representative,

20    general administrator, member, co-conspirator, and/or joint-venturer or occupied other relationships

21    with each of the other named Defendants and at all times herein mentioned acted within the course and

22    scope of said agency and/or employment and/or other relationship and each other Defendant has ratified,

23    consented to, had actual and/or constructive knowledge of, was bound by, approved or, and/or failed to

24    prevent the acts of their agents, employees, predecessor-in-interest, successor-in-interest, trustees,

25    trustors, and/or representatives, and that each actively, passively, acquiesced, participated in, allowed,

26    aided and abetted, assisted, acted, or failed to act, with one another in the commission of the wrongdoing

27    alleged in this Complaint.

28            6.      Whenever in this Coinplaint an act or omission of a corporation or business entity is alleged,


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 1 said allegation shall be deemed to meati and include an allegation that the corporation or business enti
 2     acted or omitted to act through its authorized officers, dire.ctors, agents, servants, andlor employees,

 3 I witliin the. course and scope of their duties, that the act or omission was authorized by corporate
 4     officers or directors, and that the act or omission was ratified by the officers and directors of the corporation:
 5
 6.                                      II. RESPONDEAT SUPERIOR

 7             7.      Based upon information and belief, ALEXANDER AGUIRRE alleges that with respect to

 8     Defendants WELLS FARGO & COMPANY and WELLS FARGO BANK, N.A. a Delaware Corporation;

 9     SHERRI PARKS, an individual, and DOES 1-20, that tlieir capacity is, or may be, that of an

10     employer/employee in relation to the corporatiori or entity Defendant WELLS FARGO & COMPANY

11     AND WELLS FARGO BANK, N.A., for which they acted within their capacity and scope as an employee

12     of that corporation or business entity.

13            8.      As a result of the tortious conduct perpetrated by Defendant(s)' employee, such em

14 I was acting within the scope of her employment duties and his tortious conduct was therefore imputable
15     the corporation or business entity Defendant under the doctrine of respondeat superior.

16            9.      At the time of the tortious conduct that injured the Plaintiff ALEXANDER AGUIRRE, he

17 I was committed by the corporation or business entity Defendant(s)' employee, such employee was
18     within the scope of his apparent authority, such that the Plaintiff ALEXANDER AGUIRRE was justified in

19     relying on the appearance of authority respecting the employee's. actions. Such tortious conduct was

20     therefore imputable to the corporation or business entity Defendant(s) under the doctrine of respondeat

21     superior.

22            10.     The tortious conduct that was committed by the corporation or business entity Defendant(s)'

23     employee and which injured the Plaintiff ALEXANDER AGUIRRE as described herein, was authorized

24     approved in advance by the corporation or business entity Defendant(s), and thus, such tortious conduct is

25     imputable to the corporation or business entity Defendant(s) under the doctrine of respondeat superior.

26            11.     The tortious conduct that was conimitted by the corporation or business entity

27 I Defendant(s)'employee and which injured the Plaintiff ALEXANDER AGUIRRE as described herein,
28     subsequently ratified b.y Defendant(s), and thus, such tortious conduct is imputable to Defendant(s) the

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 1     corporation or business entity under the doctrine of respondeat superior.
 2
 3                              III. A.IDING & ABETTING & CIVIL CONSPIRACY
 4               12.   Based upon information and belief, Plaintiff ALEXANDER AGUIRRE thereon allege
 5     Defendants WELLS FARGO & COMPANY and WELLS FARGO BANK, N.A. a Delaware Corporation;
 6 I SHERRI PARKS, an individual, and DOES 1-20, were aiders/abettors/co=conspirators of each other;
 7     aided and abetted each other in a scheme to deprive the Plaintiff.of his rights, title and interests as:

 8     herein.

 9               13.   In:eommitting the wrongful acts alleged herein, Defendants, and each ofthem, have pursued,

10 or joined in the pursuit of a cornmon course of conduct, and have acted in concert via agreernent with,
11     conspi'red with, one, another in furtherance of the improper acts, plans, schemes, and transactions that are

12 the subject of this Complaint.
13               14.   In addition, each of the Defendants, rendered substantial assistance in the wrongs complained

14 ~ of berein. In taking sucli, a,ctions to substantially assist the commission of the wrongdoing complained
15 herein, e"ach Defeiidaiit acted with knowledge of the primary wrongdoing, and was aware of his, her or its
16 overall contribution to; and furtherance of the wrongdoing.
17               15. Consequently, the actions of Defendants WELLS FARGO & C.OMPANY and WELLS

18 I FARGO BANK, N.A. a Delaware Corporation; SHERRI PARKS, an individual, and DOES 1-20, were
19 done not in the best interest of the other.
20,              16.   As a result, based upon inforrnation and belief, Plaintiff ALEXANDER AGUIRRE

21, alleges that each Defendants WELLS FARGO & COMPANY and WELLS FARGO BANK, N.A.
22 Delaware Corporation; SHERRI: PARKS, an individual, and DOES -1=20, is liable for the events
;23    damages as alleged herein by their knowingly consenting to or approving the unlawful acts.

24               17. As such, Defendants 'WELLS FARGO & CONIPANY AND VkWELLS FARGO BANK,

25 and SHERRI PARKS, and. each DOE Defendant, should be held accountable for each other's wrongful
26 misconduct'as set forth herein. An inequitable result will follow if such. Defendants: are not treated as
27 abettors and co-conspirators of the facts as alleged herein.
28

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 1                                          IV. JURISDICTION & VENUE
 2            18..     The Superior Court o.f the State of California in and for the County of Orange has
 3     jurisdiction over this action and venue. is proper in this Court as the .unlawful conduct was committed
 4     within the confines and borders of Orange County, California.
 5            19.      The amount in controversy is more than $25,000.
 6
 7                                         V.         GENERA.L ALLEGATIONS
 8            20.      Plaintiff ALEXANDER AGUIRRE, (hereinafter referred to as "AGUIRRE" or
 9     "Plaintiff/PLAINTIFF") began working for the Defendant WELLS FARGO &. COMPANY AND
10     WELLS FARGO BANK, N.A. (hereinafter referred to as "WELLS FARGO",), AGUIRRE started
11     working for WELLS FARGO as a teller on or about November 5, 2015, earning $11.50 an hour. He was
12     promoted to a Customer Sales and Service in July of 2016 and received a raise to $14.42 an hour. He was I
13     promoted to the position of Personal Banker 1 in November of 2016 and received a raise to $18.51.
14            21.      Defendant SHERRI PARKS worked for WELLS FARG.O as a regional manager during all
15     relevant tirnes and through the present day.
16            22.      AGUIRRE wanted to. advance within the corporate structure at WELLS FARGO., and so
17     expressed interest-in both management and licensing to his RegionallVlanager, SHERRI PARKS, in
18     October 2017.
19            23.      SHERRI PARKS told AGUIRRE that he must choose between becoming, a licensed
20     personal banker and becoming a manager because enrolling him in the licensing program just to becotne
21     manager would waste corripany money.
22.           24:      SHERRI PARKS did not allow AGUIRRE to enter the aforementioned program because

23     she felt he was not ready for the licensing program, even though he had met the previous criteria for
24     promotion and licensing.
25            25.      After AGUIRRE completed. his licensing in .lune 2018. He realized that SHERRI PARKS
26     had enrolled two other female employees in the licensing program around the time that AGUIRRE had
27     entered the licensing program in March 2018. One of the women passed her licensing exam, and she was
28     immediately promoted to service manager. The other employee failed the licensing program twice and

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 1    was promoted to service manager. These employees were accepted into the program by SHERRI PARKS

 2    and were given the freedom to clioose between licensed personal banker and service manager, whereas

 3 I AGUIRRE was treated differently.
 4           26.     AGUIRRE witnessed SHERRI PARKS tell a male personal banker that he had to be in his

 5 I position for a year before getting promoted, while SHERRI PARKS promoted female employees who had
 6    been at their position for less than a year.

 7           27.      Mr. Aguirre later became licensed as a personal banker, and WELLS FARGO gave him a

 8 I raise of $21.03 an hour. Mr. Aguirre then received his final raise in March of 2019 when his pay was
 9    increased to $21.33. His job duties were opening and managing accounts, handling debit deposits, and

10    generally helping customers with their personal banking needs.

11           28.      On November 15, 2018, a man walked into the WELLS FARGO down the road from the

12    branch at which AGUIRRE worked. This customer tried to take an eighty-thousand-dollar check and

13    deposit it with WELLS FARGO. That branch initially approved the transaction, but later went back and

14    reversed it because it was suspected to be fraudulent. That WELLS FARGO branch did not flag the

15    customer's account, did not enter a"be on the lookout" alert into WELLS FARGO'S system, and did not

16    contact any other WELLS FARGO branch in the area.

17           29.     On or about November 16, 2018, that same customer walked into the WELLS FARGO

18 I branch at which AGUIRRE worked, which was located at 18529 Yorba Linda Boulevard, Yorba Linda,
19    CA 92886. That day, both the Branch Manager, Alexandra Zambri, and the Service Manager, Manpreet

20    Shergill, were both absent froni the branch, making AGUIRRE the only WELLS FARGO employee with

21    the clearance to handle the check. After checking the system and seeing no warning messages or

22    recommendations reported for the customer's account or the check he was attempting to deposi,t,

23    AGUIRRE approved the deposit of the check. WELLS FARGO policy is to make the funds available as a

24    convenience to the customer. Unfortunately, the check that this customer deposited was a fake.

25           30.     On or about November 17, 2018, the customer went to the WELLS FARGO Yorba Linda

26 I branch and requested a cashier's check for eighty-thousand ($80,000). The transaction was approved by
27    the Service Manager, Manpreet Shergill. AGUIRRE did not help the customer that day and was not

28    involved in tendering the cashier's check to the customer.


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 1!          31.     On or about the weekend of November 17, 2018, AGUIRRE called WELLS FARGO's

 2 weekend regional service consultant, and tried to get the cashier's check from being cashed, but was
 3 ~ informed that the branch eould do nothing about the fraud until Monday. That Monday, AGUIRRE
 4    researched the check and saw that it had been deposited at a Chase bank. AGUIRRE and his Service

 5 I lvianager Manpreet Shergill were able to call Chase and work out a 10-day hold on the account so that
 6    WELLS FARGO could retrieve the funds. After placing this 10 day hold on the account at Chase,

 7    AGUIRRE and Manpreet Shergil] notified the regional service consultant that the 10-day hold had been

 8    placed, and that WELLS FARGO could retrieve the funds within those ten days. WELLS FARGO did

 9    not act in a timely manner and suffered a loss of forty-thousand dollars ($40,000).

10           32.     After the loss was confirmed by his managers, AGUIRRE'S time at work was consumed

11    with stress and worry regarding his job. He was worried that, since he was iiivolved. in the chain of

12 causation that led to the loss, he would be blained or that his rr►anager would lose her job. This process of
13 investigation carried on for months. Finally, in or about 1Vlarch of 2019, AGUIRRE could no longer take
1-4 I the uncertainty and asked his manager; Manpreet Shegrill, to look up the transaction to see who WELLS
15    FARGO blamed for the loss. The search retunied that only AGUIRRE was being blamed for the loss.

16           33.     Discussion was had by WELLS FARGO management about what the corrective action

17 I would be for AGUIRRE and Ms. Shegrill. SHERRI PARK'S opinion was very persuasive to the end
18 I decision, which Alexandra Zambri relayed later to AGUIRRE in a personal conversation. Ms. Zambri
19 also spoke to AGUIRRE about how she thought it was unfair that the entire blame be put on AGUIRRE
20 and that AGUIRRE would likely be terminate.d. AGUIRRE was upset at the decision to blame hirn for the
21    loss entirely. He felt discriminated.against and went to WELLS FARGO human resources to complain.

22           34.     AGUIRRE contacted human resources in April of 2019 and did not hear back until 1VIay,

23 when they told him that he was complaining about discrimination and unfair treatment regarding an event
24 that had yet to take place (i.e. his firing or other adverse employment action). They informed AGUIRRE
25 that they were closing his HR complaint until the company made a fmal decision regarding the loss.
26           35. AGUIRRE did not hear back from Human Resources or anyone else at WELLS FARGO

27 until June 13, 2019, when he was fired.
28           36.     AGUIRRE was never interviewed regarding the loss and never got an opportunity to talk


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 1 I about the situation before he was fired.
 2           37.     The person that authorized the issuance of the cashier's check, Manpreet Shergill, only

 3    received a probation extension. Manpreet had already been on probation because of an incident in which
 4    she had stepped in to help on the teller line oii a busy day and had come up short $1,200.

 5           38.     This was AGUIRRE's first iricidence of loss exposure and WELLS FARGO fired him half

 6    a year later after he had attenipted to complain to human resources about discrimination.

 7
 8                       iVI. EXHAUSTION OF ADMINISTRATIVE REMEDIES

 9           39.     AGUIRRE complained to other managers/supervisor and Human Resources of Defendant

10    WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A. regarding the retaliatory and

11    discriminatory actions taken against him.

12           40. WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A., knew, or should

13    have known, about AGUIRRE's complaints regarding the retaliatory and discriminatory actions taken

14    against him by SHERRI PARKS as a IZEGIONAL Manager and in her supervisory capacity with WELLS

15    FARGO & COMPANY AND WELLS FARGO BANK, N.A. and AGUIRRE's discussion with Human

16    Resources.

17           41. Neither SHERRI PARKS nor WELLS FARGO & COMPANY AND WELLS FARGO

18    BANK, N.A., investigated, provided a satisfactory response to AGUIRRE's complaint, or the adverse

19    employment actions, taken against him.

20           42.     On, or about, October 24, 2019 Plaintiff ALEXANDER AGUIRRE filed a charge with the

21    State of California, Department of Fair Employment and Housing (hereinafter referred to as "DFEH") and

22    obtained a Right to Sue Letter regarding Claim No. 201910-08126231 for the following:

23                   ■      Complainant was discriminated against because of complainant's race, national

24                          origin (includes language restrictions), color, sexlgender, age (40 and over) and as a

25                          result of the discrimination was denied hire or promotion, demoted, asked

26                          impermissible non job-related questions, denied a work environment free of

27                          discrimination and/or retaliation.

28                   ■      Complainant experienced retaliation because complainant reported or resisted



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 1                           any forni of discrimination or harassment and as a result was denied hire or
 2                           promotion, denied or forced transfer, demoted, asked impermissible non job-related I
 3                          questions, deriied a work environment free of discrimination and/or retaliation,
 4                           failed to give equal considerations in making employment decisions, partial
 5                           recomrtiendation for subsequent employment in retaliation for filing discrimination
 6                           or harassment complaints..
 7     (Attached hereto as Exhibit A, is a true and correct copy of the October 24; 2019 Right to Sue Letter
 8 I issued in the .Claim No. 201910-08126231 by the State of California, Department of Fair Employment and
 9 I Housing, and incorporated herein by this refer.ence.)
10            43.     Accordingly, Plaintiff has timely complied with all prerequisites to suit.
11
12                                          VI.     CAUSES OF ACTION
13                                      FIRST CAUSE OF ACTION
14                                             Retaliation
                (As to Defendants WELLS FARGO & COMPANYAND WELLS FARGO BA.NK, N.A.,
15                                    SHERRI PARKS and DOES 1 to 20)
16           44.     Plaintiff ALEXANDER AGUIRRE refers to and incor.porates by reference paragraphs 1
17 through 43 above,. inciusive, as though set forth in full herein, and alleges this First Cause of Action for
18 Retaliation as against each Defendant WELLS FARGO & COMPANY AND WELLS FARGO BANK,
19 I N.A., SHERRI PARKS and DOES 1 to 20, inclusive, and each of them, as follows:
20           45.     AGUIRRE engaged iri protected activity, namely to question the decision of his employer
21 I with regard: to adverse employment actions and complained about discrimination to WELLS FARGO'S
22 human regources department. .
23           46.     Defendants- WELLS FARGO & COIVIPANY AND WELLS FARGO BANK, N.A.,
24 SHERRI PARKS and D.OE Defendants 1 to 20 as aiders, abettors and conspirators, inclusive, and each of
25 them, dismissed AGUIRRE' S hurnan resources complaint and fired AGUIRRE, thereby taking an adverse
26 employment action against AGUIRRE.
27           47.     Defendants WELLS FARGO & COIVIPANY AND WELLS FARGO BANK, N:A.,
28 ~ SHERRI PARKS and DOE Defer►dants 1 to 20 as aiders, abettors and conspirators, inclusive, and each of

      Ri
                                           FIRST COMPLAINT FOR DAMAGES
     Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 12 of 41 Page ID #:21



 1    them, retaliated against AGUIRRE because of his protected activity, in violation of Government Code §

2     12940(h), Title 2 California Administrative Code §§§ 7287.6, 7287.7, and 7287.8, and in violation of the

3 I common law in abrogation of her rights.
4             48. That Defendants' WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A.,

 5    SHERRI PARKS and DOE Defendants I to 20 as aiders, abettors and conspirators, inclusive, and each of

 6    them; decision to take the aforementioned adverse employment action against AGUIRRE was a

 7 I substantial factor in causing his harm.
 8            49.     AGUIRRE received a right-to-sue letter from the DFEH and filed this action in a timely

 9 I manner thereafter. Accordingly, AGUIRRE has timely complied with all prerequisites to suit.
10            50.     AGUIRRE was injured and damaged as alleged above as a direct and legal result of the

11    conduct of Defendants WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A., SHERRI

12     PARKS and DOE Defendants 1 to 20 as aiders, abettors and conspirators, inclusive, and each of them.

13            51.     As a proximate result of the wrongful actions of Defendants WELLS FARGO &

14 I COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOE Defendants 1 to 20 as
15    aiders, abettors and conspirators, inclusive, and each of them against AGUIRRE,, as alleged above,

16    AGUIRRE has been harmed in that he has suffered the loss of wages, salary, benefits, and additional

17    amounts of money he would have had, liad he not been fired by Defendants WELLS FARGO &

18     COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOE Defendants 1 to 20 as

19    aiders, abettors and conspirators, inclusive, and each of them.

20            52.     As a further proximate result of the wrongful actions of Defendants WELLS FARGO &

21     COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors

22     and conspirators, inclusive, and each of them, against Plaintiff as alleged above, Plaintiff has been harmed

23     in that Plaintiff has suffered an intangible loss of employment-related opportunities and benefits.

24            53.     As a further proximate result of the wrongful actions by Defendants WELLS FARGO &

25     COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOE Defendants 1 to 20 as

26     aiders, abettors and conspirators, inclusive, and each of them against AGUIRRE as alleged above,

27     AGUIRRE has been harmed in that he has suffered humiliation, mental anguish, emotional and physical

28     distress, anxiety, and has been injured in the mind and body.

       10
                                            FIRST COMPLAINT FOR DAMAGES
     Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 13 of 41 Page ID #:22



 1           54.. The. wrongful conduct of Defendants. WELLS FARGO & COIVIPANY AND. WELLS
 2    FARG.O BANK, N.A.; SHERRI PARKS and DOE Defendants 1 to 20 as .aiders, abettors=:and corispirators,
 3    inclusive, and .each of them,, as set fortli herein above was perpetrated upon AGUIRRE intentionally,
 4    willfully, fraudulently, in conscious: disregard of AGUIRRE' rights and safety and with a callous
 5    indiffereiiee to the injurious consequences which were substantially certain to occur and was shameful,
 6    despicab.le and deplorable.
 7                                        SECOND CAUSE OF ACTION
 8                          Failure to Preverit Discriminutfon, Harassment or Retaliation
                (As to Defendants WELLS FARGC? & COh%IPANYtIND WELLS FAR.GQ BANK, N.A.;
 9                                       SHERRI PARKS and DOES ) to 20)
10           55.     Plaintiff ALEXANDER AGUIRRE refers to and incorporates by refer.ence paragraphs 1
11    through. 54 above, inclusive, as though set forth in full "herein, and alleges this Second Cause of Action for
12    Failure to Prevent Discrimination,, Harassment or Retaliatiori as against each Defendant WELLS FARGO
13    & COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders,
14    abettors and conspirators, inclusive, and each of them, as follows:
15           56.     Plaintiff AGUIRRE was an employee of Defendants WELLS FARGO & COMPANY
16 I AND WELLS FARGO BANK,. N.A.; SHERRI PARKS and DOES 1 to 20 as aiders, abettors and
17 I conspirators, inclusive, and each of them.
18           57.     Plaintiff AGUIRRE was:subjected to retaliation in the course ofhis ernployment when
1.9 I Defendants WELLS. FARGO & COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and
20 I DOES 1 to 20 as aiders, abettors and conspirators, inclusive,. and each of them fired AGUIRRE after he
21    complained of discrimination to human resources.
22           58.     Defendants WELLS FARGO &:.COMPANY AND WELLS FARGO BANK, N.A.,
23    SHERRI PARKS and DOES I to 20 as aiders, abettors and corispirators; inclusive, and each of them, by
24    permitting the retaliation to occur; and by retaliating against AGUII2RE because of liis complaint to
25    human resources, failed to take all reasonable steps necessary to prevent retaliation from occurring in
26    violation:of California Go.vernment' Code §§ 12926.1 and 12940(k) and all applicable regulations under
27    the California Code of Regulations.
28           59.     Defendants' WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A.,

      11
                                            FIRST COMPL .AINT FOR DAMAGI;S
     Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 14 of 41 Page ID #:23



 1    SHERRI PARKS and DOES 1 to 20 as aiders, abettors and conspirators, inclusive, and each of them,

 2    failure to take all reasonable steps to prevent retaliation was a substantial factor in causing AGUIRRE'S

 3 I I harm.
 4             60.   AGUIRRE received a right-to-sue letter from the DFEH and filed this action in a timely
 5    manner. Accordingly, AGUIRRE has timely complied with all prerequisites to suit.
 6             61.   AGUIRRE was injured and damaged as alleged above as a direct and legal result.of the

 7 I I conduct of Defendants WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A., SHERRI
 8    PARKS and DOES 1 to 20 as aiders, abettors and conspirators, inclusive, and each of them.

 9             62.   As a proximate result of the wrongful actions of Defendants WELLS FARGO &
10 I COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors
11    and conspirators, inclusive, and each of them, against Plaintiff, as alleged above, AGUIRRE has been

12    harmed in that he has suffered the loss of wages, salary, benefits, and additional amounts of money

13    Plaintiff would have received if Plaintiff had not been subject to adverse employnient actions by

14    Defendants WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and

15    DOES 1 to 20 as aiders, abettors and conspirators, inclusive, and each of them.

16             63.   As a further proximate result of the wrongful actions of Defendants WELLS FARGO &
17 I COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors I
18    and conspirators, inclusive, and each of them, against Plaintiff as alleged above, Plaintiff has been harmed

19    in that Plaintiff has suffered an intangible loss of employment-related opportunities.

20             64.   As a further proximate result of the wrongful actions of Defendants WELLS FARGO &

21 I COMPANY AND WELLS FARGO BANK, N.A.., SHERRI PARKS and DOES I to 20 as aiders, abettors I
22   and conspirators, inclusive, and each of them, against Plaintiff as alleged above, AGUIRRE has been

23    harmed in that he has suffered humiliation, mental anguish, emotional and physical distress, anxiety, and

24    has been injured in the mind and body.
25             65. The wrongful conduct of Defendants WELLS FARGO & COMPANY AND WELLS
26 I FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors and conspirators, inclusive,
27 and each of them, set forth herein above was perpetrated upon AGUIRRE intentionally, willfully,
28 fraudulently, in conscious disregard of his rights. and safety and with a callous indifference to the injurious

      12
                                           FIRST COMPLAINT FOR ®AMAGES
     Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 15 of 41 Page ID #:24



 1 I consequences which were substantially certain to occur and was shameful, despicable and deplorable.
 2
                                        THIRD CAUSE OF ACTION
 3                                          Sex Discrimination
 4              (As to Defendants WELLS FARGO & COMPANYAND WELLS FARGO BANK, N.A.,
                                      SHERRI PARKS and DOES 1 to 20)
 5
             66.     Plaintiff ALEXANDER AGUIRRE refers to and incorporates by reference paragraphs 1
 6
      through 65 above, inclusive, as though set forth in full herein, and alleges this Third Cause of Action for
 7
      Sex Discrimination as against each Defendant WELLS FARGO & COIVIPANY AND WELLS FARGO
 8
      BANK, N.A., SHERRI PARKS and DOES l to 20 as aiders, abettors and conspirators, inclusive, and each
 9
      of them, as follows:
10
             67.     Plaintiff AGUIRRE was an employee of Defendants WELLS FARGO & COMPANY
11
      AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES I to 20 as aiders, abettors and
12
      conspirators, inclusive.
13
             68.      Defendants WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A.,
14
      SHERRI PARKS and DOES l to 20 as aiders, abettors and conspirators, inclusive, fired AGUIRRE, thus
15
      subjecting AGUIRRE to an adverse employment action.
16
             69.     AGUIRRE'S gender was a substantial motivating reason for Defendants WELLS FARGO
17
      & COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders,
18
      abettors aiid conspirators, inclusive, decision to discharge AGUIRRE.
19
             70.     Defendants' WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A.,
20
      SHERRI PARKS and DOES 1 to 20 as aiders., abettors and conspirators, inclusive, and, each of their
21
      conduct was a substantial factor in causing AGUIRRE'S harm.
22
             71.     AGUIRRE received a right-to-sue letter from the DFEH and f led this action in a timely
23
      manner. Accordingly, AGUIRRE has timely complied with all prerequisites to suit.
24
             72.     As a proximate result of the wrongful actions by Defendants WELLS FARGO &
25
      COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors
26
      and conspirators, inclusive, and each of them, against Plaintiff, as alleged above, AGUIRRE has been
27
      harmed in that he has suffered the loss of wages, salary, benefits, and additional amounts of money
28
      Plaintiff would have received if Plaintiff'had not been wrongfully demoted by Defendants.

      13
                                           FIRST COMPLAINT FOR DAMAGES
     Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 16 of 41 Page ID #:25



 1           73.     As a further proximate result of the wrongful actions of Defendants WELLS FARGO &

 2 I COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors
 3 I I and conspirators, inclusive; and each of them, against Plaintiff as alleged above, Plaintiff has been harmed
 4    in that Plaintiff has suffered an intangible loss of employment-related opportunities.
 5           74.     As a further proximate result of the wrongful actions of Defendants WELLS FARGO &
 6 ~ COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DO.ES 1 to 20 as aiders, abettors
 7 and conspirators, inclusive, and each. uf them, against Plaintiff as alleged above, AGUIRRE has been
 8    harnied in that he has been harmed in that he has suffered humiliation, mental anguish, emotional and
 9    physical distress, anxiety, and has been injured in the mind and body.

10           75.     The wrongful conduct of Defendants WELLS FARGO & COMPANY AND WELLS
11 I I FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors and conspirators, inclusive,
12 and each of them, as set forth herein above was perpetrated upon AGUIRRE intentionally, willfully,
13 fraudulently, in conscious disregard of Plaintiff's rights and safety and with a callous indifference to the
14 injurious consequences which were substantially certain to occur and was shameful, despicable and
15    deplorable.

16                                      FOUItTH CAUSE OF ACTION
17                             Negligent Hiring, Training, Supervision and Retention
                (A.s to Defendants WELLS FARGO & CUMPANYAND WELLS FARGO BANK, N.A.,
18                                     SHERRI PARh'S and DOES I to 20)
19           76.     PlaintiffALEXANDER AGUIRRE refers to and incorporates by reference paragraphs 1
20 through 73 above, inclusive, as though set forth in full herein, and alleges this Fourth Cause of Action for
21    Negligent Hiring, Training, Supervision and Retention, as against each Defendant WELLS FARGO &
22 COMPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors
23 ' and conspirators, inclusive, and each of them, as follows:
24           77.     Defendant SHERRI PARKS was or became unfit or incompetent to perform the work for
25 I which she was hired.
26           78.     Defendants WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A.,

27 I SHERRI PARKS and DOES 1 to 20 as aiders, abettors and conspirators, inclusive., and each of them
28 or should have known that SHERRI PARKS was or became unfit or incompetent and that this unfitness or

      14
                                           FIRST COMPl.AINT FOR DAMAGES
     Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 17 of 41 Page ID #:26



 llI incompetence created a particular risk to others.
2            79. Defendants WELLS FARGO & COMPANY AND WELLS FARGO BANK, N.A.,

 3    SHERRI PARKS and DOES 1 to 20 as aiders, abettors and conspirators, inclusive, and each of them

 4    negligerice in hiring, supervising, or retaining SHERRI PARKS was a factor in causing AGUIRRE'S

 5    HARM.
 6           80. By the aforesaid acts and omissions by Defendants WELLS FARGO & COMPANY AND

 7    WELLS FARGO BANK, N.A., SHERRI PARKS and DOES 1 to 20 as aiders, abettors and conspirators,

 8    inclusive, and each of them, AGUIRRE has been directly and legally caused to suffer actual damages

9     including, but not limited to, loss of earnings and future earning capacity, attorneys' fees, costs of suit and

10    other pecuniary loss not presently ascertained, in an amount according to proof at the time of trial.

11           81.     As a further proximate result of the wrongful actions Defendants WELLS FARGO &

12    COIVIPANY AND WELLS FARGO BANK, N.A., SHERRI PARKS and DOES l to 20 as aiders, abettors

13    and conspirators, inclusive, and each of them, against Plaintiff, as alleged above, AGUIRRE has been

14    harmed in that he has suffered humiliation, mental ariguish, emotional and physical distress, anxiety, and

15    has been injured in the mind and body.

16           82.     The wrongful conduct of Defendants set forth herein above was perpetrated upon Plaintiff

17    intentionally, willfully, fraudulently, in conscious disregard of the rights and safety of AGUIRRE and with

18    a callous indifference to the injurious consequences which were substatitially certain to occur and was

19    shameful, despicable and deplorable.

20
21                                              PRAYER FOR RELIEF

22                                            DEMAND FOR JURY TRIAL

23
24                   Plaintiff ALEXANDER AGUIRRE hereby demands a trial by jury in this matter.

25
26           Plaintiff ALEXANDER AGUIRRE hereby prays for judgment against Defendants WELLS

27    FARGO & COMPANY and WELLS FARGO BANK, N.A. a Delaware Corporation; SHERRI PARKS,

28    an individual, and DOES 1-20, as follows:


      15
                                            FIRST CONiPLA1NT FOR DAMAGCS
     Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 18 of 41 Page ID #:27



 1             1.     General, compensatory, an&special damages in amounts to be proven at trial;
 2             2.     For prejudgment interest as permitted by Section 3291 of the California Civil Code and any
 3                    other applicable statutes;
 4             3.     Punitive Damages; and,
 5             4.     For attorney's fees, the costs of suit herein incurred; and,
 6             5.     For such other and further relief as: this Court may deem proper.
 7
           Dated: 7anuary 09; 2020                      HEIT LAVV~              , P.
 8
 9                                                      By:                                ~
                                                                Bria
10
                                                        Attorney for Plaintiff, ALEXANDER AGUIRRE
11
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     '16
     1                                      FIRST COMPLAINT FOR DAMAGES
Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 19 of 41 Page ID #:28




                       EXHIBIT A
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             1- ~- - 1,— .41,xs ;, . U, 0ta: ,
 Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 21 of 41 Page ID #:30


            STATE OF CALFORNIA I Busmess..Consumer Services ana Mousina Aaenev              GAVIN NEWSOM. GOVrRN OR

                                                                                                KEVIN KIS►C DIRECTOR
U /1        DEPARTMENT OF FAIR EMPLOYMENT 8c I-IOUSING
• ~, 1~ V   2218 Kausen Onve, Sude.100 IEIk Grove I CA 195758
     .4`    (800) 884-1684 (Volce)1.(800) 700•2320 (7TY1 I CaGtomla's Relay Serwce at 711
            http:llvwvw.dfeh,ca.gov I Email. contact.center@dfeh.ca.gov


    October 31, 2019

    Brian Heit, Esq..
    340 South Lemon Avenue, .Suite 8933
    Walnut, CA 91789

    RE:     Notice to Complainant's Attorney
            DFEH Matter Number: 201910-08126231
            Right to Sue: Aguirre / Wells Fargo

     Dear Brian Heit, Esq.:
    Attached is a copy of your complaint of discrimination filed with the Department of Fair
    Employment and Housing (DFEH) pursuant to the California Fair Employment and
    Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
    Notice of Case Closure and Right to Su.e.

    .Pursuant to Government Code section 12962, DFEH will n.ot serve these
     documents on the employer. You must senre the complaint separately, to ail named
    respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
    ,nformation regarding filing a private lawsuit in the State of CaEifornia. A courtes.y "Notice
    of Filing of Discrimination Complain't" is attached for your convenience.

    Be advised that the DFEH does not review or edit the complaint form to ensure that it
    meets procedural or statutory requirements.

    Sincerely,


    Department of Fair Employment and Housing
     Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 22 of 41 Page ID #:31


d~       ~    $TATE OF'CALIFORNIA PBusmess. Cotreumet SerWces and Huusino AOenev.                 GAVIN NEWSOM COVFRNOR

              DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                 KEVINK{SH,OIRECTOR

              2218 Kausen Dnve. Swte 100 1 EIk.Grove I CA 195758
              (8001884-1684. (V.oice); I(800) 700-2320 (TlY) ( Califorma s Belay Serv,ce al 711
              httpa!www;dfeh.ca:gov I Emad, contact center@tlfeh.ca.gov



       October 31, 2019

       RE:   Notice of Filing of Discrimination Complaint
             DFEH Matter Number: 201910-081.26231
             Right to Sue: Aguirre / We11s Fargo

       To AII Respondent(s):

       Enclosed is a copy of a compla'int of discrimination that has been filed with the
       Department of Fair Employment and Housing (DFEH) in accordance with Government
       Code section 12960. This constitutes service of the complaint pursuant to Government
       Code section 129_62. The complainant has requested an authorization to file a lawsuit.
       This case is not being investigated by DFEH and is being closed immediately. A copy of
       the Notice of Case Closure and Right to Sue is enclosed for your records.

      Please refer to the attached complaint for a list of ail respondent(s) and their contact
      inf.ormation.

       No response to DFEH is requested or required.

       Sincerely,


       Department of Fair Employment.and Housing
 Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 23 of 41 Page ID #:32


a,✓"""'~y,   STATE OF CALIFORNIA 1 Rusiness. Consurner Sermcec__and Housina Ac ncv           GAVIN N W,ROM GOVERNOR

             DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                             KEVINKISM,DIRECTOR'

V' !~ y      2218 Kausen Driye. Suite 100 I Elk Grove I CA 195758
             (800) 884-1684 (Vo+ce)1(800) 700=2320 (TTY) l Cahfomia's Relay Service at 111
             http:lLwww.dteh.ca.gov 1 Email. contact.centerQdfeh.ea.gov


     October 31, 2019

     Alexander Aguirre
     947 N. Placentia Avenue, Apt A
     Fullerton, CA 92831

     RE:     Not9ce of Case Ctosure and Right to Sue
             DFEH Matter Number: 201910-08126231
             Right to Sue: Aguirre / Wells Fargo

     D.ear Alexander Aguirre,

     This letter informs you that Department of Fair Employment and Housing received your
     request for a Right to Sue. The above-referenced complaint was filed on with the
     Departmerit of Fair Emplo.yment and Housing. As .of , your case is closed. Department
     of Fair Empioyment and housing will take no further action on the complaint.

     This letter is also -your Right to Sue notice. According, to Government Code section
     12965, subdivision (b), a civil ,action may be brought under the provisions of the Fair
     Employment and Housing Act against the person, employer, labor organization or
     employment agency named in tre above-referenced complaint. The civil action must be
     61ed writhin one year from the date of this letter.

     To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
     Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
     DFEH Notice of Case Closure letter or within 300 days of the alleged discriminatory act,
     whichever is earlier.
     Sincerely,


     Department of Fair Employment and Housing
Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 24 of 41 Page ID #:33




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 ~w' _. _'•.h~.
                  CALIFORNIA DEPARTMENT OF FAIR EMPLOYMENT AND HOU.SING
                                           RIGHT-TO-SUE
 ~!o.usno!~✓

Your submission of this document acknowledges that you have read and agree to the DFEH's
Privacy Policy. By submitting this document, you are declaring under penalty of perjury under
the laws of the State of .Califomia that to the best of your knowledge ali information stated is true
and correct, except matters stated on information and belief, which you beiieve to be true.

 DFEH CASE NUMBER (IF APPLICABLE):
   201910-()812623 1

COMPLAINANT:
 NAME:                                                                    TELEPHONE NUMBER:
 Alexander Aguirre                                                        (909) 605-3713

 ADDRESS:                                                                      EMAIL ADDRESS:
 947 N. Placentia Avenue, Ap.t. A                                         alexaguirre692@aol.com

  CITYfSTATEIZP:
  t=uiierton, CH 92831



RESPONDENT:
  NAME:                                                                   TELEPHONE'NUMBER:

 Wei1s Fargo                                                             (602) 378-7638.

  ADDRESS:
 Mali Code S4201-142100 West Washington Street, Suite 1418

  CITY/STATE/ZIP: .

 Phoenix, Arizona 85003

  NUMBER OF EMPLOYEES: unknown                       TYPE OF EMPLOYER: Banking institufe


                                                                            RECE1VED

                                                                               0CI 2 4 2o19
                                                                    Departrnenl ol Farr Erriployment & Housmg
                                                                                     Etk Grovc:

Right-to-Sue (DFEH 902-6M) Revised 712019                                                       Page 2 of 14
Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 25 of 41 Page ID #:34




 ADD CO-RESPONDENT:

  NAM

  TITLE:

  ADDRESS:



  TELEPHONE NUMBER:

 ADD CO-RESPONDENT:

  NAME:

  TITLE:

  ADDRESS:



  TELEPHONE NUMBER:



 DATE OF H"4u!:
                            1                06/13/2019
  LAST DATE OF HARM (Month/Day/Year):




 Right-to-Sue (DFEH 902-6M) Revised 7/2019
                                                          Page 3 of 14
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 1. 1 ALLEGE THAT I EXPERIENCED: P(lDiscrimination 1-1 Harassment
 BECAUSE OF MY ACTUAL OR PERCEIVED:

F~ Age (40 and over)

El Ancestry

El Association with a member of a protected ciass
~ Baby Bonding Leave (empioyers of 20-49 people)

F] Color

~ Criminal History
~ Disability (physical or mental)

~ Family Care or Medical Leave (CFRA) (employers of 50. or more people)
~ Gender I.d:entity or Expression

~ Genetic Information or Characteristic

~ Marital Status

F-I Medical t.ondition (cancer or genetic characteristic)

1:1 Military and Veteran Status

FI National Origin (inciudes language restrictions)

F] Pregnancy, childbirth, breastfeeding, and/or reiated medical conditions

F] Race
F~ Religious creed (includes dress and grooming practices)

 VR Sex/Gender

F-I Sexual harassment - hostile environment

1-1 Sexual harassment - quid pro quo

F—I Sexual orientation
7 Other (specify) Retaliation




 Right-to-Sue (DFEH 902-6M) Revised 7/2019
                                                                             Page 4 of 14
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 AS A RESULT, I WAS:

F~ Asked impermissibie non-job-reiated questions
F-I Demoted
F-I Denied accommodation for pregnancy

F—I Denied accommodation for reiigious beiiefs
F] Denied any empioyment benefit or priviiege
~ Denied Baby Bonding Leave (empioyers of 20-49 peopie)
~ Denied empioyer paid heaith care whiie on pregnancy disabiiity ieay.e
~ Denied equai pay
~ Denied Family Care or Medical Leave (CFRA) (employers of 50 or more peopie)
~ Denied hire or promotion
~ Denied or forced to transfer
~ Denied reasonabie accommodation for a disabiiity
~ Denied the right to wear pants
~ Denied work opportunities or assignments
     Forced to quit
     Laid off
~ Reprimanded
     Suspended
     Terminated
     Other (specify)



  I ALLEGE THAT I EXPERIENCED:          a Retaliation

  BECAUSE I:

~ Participated as a witness in a discrimination or harassment compiaint
~ Reported or resisted any form of discrimination or harassrnent
F] Reported patient abuse (hospitai empioyees oniy)
 ~ Requested or used a disabiiity-reiated accommodation
 ~ Requested or used a pregnancy-disabiiity-reiated accommodation
     Requested or used a reiigious accommodation
     Requested or used baby bonding leave (empioyers of 20-49 peopie)
 F~ Requested or used leave under the California Family Rights Act or FMLA
     (empioyers of 50 or more peopie)


  Right-to-Sue (DFEH 902-6M) Revised 7/2019
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 AS A RESULT I 1PVAS:

❑   Asked impermissible non job-related questions
❑ Demoted
❑   Denied accommodation for pregnancy
❑   DenEed accommo.dation for religious befiefs
❑ Denied any employment benefit or privilege
❑   Denied baby bonding leave (employers of 20-49 people)
❑ Denied employer paid health care while on pregnancy disability leave
❑ Denied equal pay
❑ Denied Family Care or Medical Leave (CFRA) (employers of 50 or more people)
❑ Denied hire or prornotion
❑ Denied or forced to transfer
❑   Denied reasonable accommodation for a disability
❑ Denied the right to wear pants
❑ Denied work opportunities or assignments
❑ Forced to quit
❑ Laid off
❑ Reprimanded
❑   Suspended
    Terminated
    Other (specify)



 2, Do you have an attomey who agreed to represent you in this matter?   O Yes ® No
    If yes, pEease provide the attomey's contact information.

 COMPLAINANT'S REPRESENTATIVE INFORMATION
 Attomey Name: Brian M. Heit, Esq.

 Attomey Firm Name: Heit Law Group, P.C.

 Attomey Address: 340 South Lemon Avenue, Suite 8933

 Attomey City, State, and Zip: Walnut, CA 91789




 Right-to-Sue (DFEH 902-6M) Revised 712019
                                                                          Page 6 of 14
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 3. Briefly describe what you believe to be the reason(s) for the discrimination, harassment, or
     retaliation. (Optional)

 Wells Fargo suffered a loss as a result of a customer's fraudulent activity at the bank, After the
 loss was confirmed by my managers, my time at work was consumed with stress and worry
 regarding rny job. I was worried that, since I was involved in the chain of causation that led to the
 loss, I would be blamed or that my managers would lose their jobs. This process of investigation
 and blame carried on for months. Finally, in or about March of 2019, 1 couid no longer take the
 uncertainty regarding the loss, and asked my manager to look up the transaction to see who
 Wells Fargo blamed for the loss.

 I contacted human resources in April of 2019 and did not hear back until May, when they told me
 that I was complaining about discrimination and unfair treatment regarding an event that had yet
 to take pface (e.x. firing or other adverse empioyment action), They informed me that they were
 closing my HR complaint until the company made a final decis'ron regarding the loss.

 Wells Fargo flred me mere weeks after I complained to human resources and mere days after
 dismissing my human resources complaint for discrimination/retaliation. The proximity between
 the retaliation and the dismissal of the human resources complaint is plain for anyone to see, as
 the two events followed one after the other in less than a month. I was an exemplary employee,
 having been promoted four times in as many years and eamed 50% more than my rate of pay
 when I started. Wells Fargo's decision to terminate me was clearly retaliatory, since no one else
 that was involved in with the loss was terminated. The individual that authorized the
 forty-thousand-dollar check was merely reprimanded, but since I complained to human resources
 about discrimination, ! u!?s the one that was fired.




 Right-to-Sue (DFEH 902-6M) Revised 7/2019
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Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 30 of 41 Page ID #:39




                      VERIFICATION PAGE — THIS PAGE MUST BE COMPLETED


 Befor.e submitting the form, you must verify who you are and whether you are submilting
                       this information for yourself or someone eise.

 Verifier Name: Alexander Aguirre


 Verifier's Reiationship to Complainant`. Self


 Verifier's City and State: Fullerton, California




 By submitting this document, you are declaring under penalty of perjury under the laws
 of the State of California that to the best of your knowiedge all information stated is true
 and correct, except matters stated on information and beiief, which you beiieve to be
 true.




 Right-to-Sue (DFEH 902-6M) Revised 7/2019
                                                                          Page. 8 of 14
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                                     DEMOGRAPHIC INFORMATION
     THIS INFORMATION IS OPTIONAL AND IS ONLY USED FOR STATISTICAL PURPOSES.
  Primary Language:                                           Age:
 GENDER 1 GENDER lDENTITY:

 ❑    Male     ❑Female            ❑ Non-Binary ❑ Other


 MARITAL STATUS:

❑     Single   ❑Married           ❑Cohabitation   ❑Divorced


 RACE:

❑ American Indian, Native American or         ❑ Native Hawaiian or Other Pacific Islander
  Alaskan Native                              ❑ White
❑    Asian
                                              ❑ Other
❑    Black or African American

 ETHNICIT1f:

 ❑ Hispanic or Latino                         ❑ Non-HisManic or Latino

 NATIONAL ORIGIN:

 ❑ Afghani              ❑ German            ❑ Japanese               ❑ Other Middie Eastem
 ❑ American [U.S.A] ❑ Ghanaian              ❑ Korean                 ❑ Pakistani
 ❑ Asian Indian         ❑ Guamanian         ❑ Laotian                ❑ Puerto Rican
 ❑ Bangladeshi          ❑ Haitian           ❑ Lebanese               ❑ Salvadoran
 ❑ Cambodian            ❑ Hawaiian                                   ❑ Samoan
                                            ❑ Malaysian
 ❑ Canadian             ❑ Hmong                                      ❑ Sri Lankan
                                            ❑ Mexican
 ❑ Chinese                                                           ❑ Syrian
                        ❑ indonesian        ❑ , Nigerian
 ❑ Cuban                                                             ❑ Taiwanese
                        71Iranian           ❑ Other
 ❑ Dominican                                                         ❑ Thai
                        ❑ I~4i              ❑ Other African          ❑ Tongan
 ❑ Egyptian
                        ❑ Irish             ❑ Other Asian
 ❑ English                                                           ❑ Vietnamese
                        ❑ Israeli           ❑ Other Caribbean
 ❑ Ethiopian
                        ❑ Itatian           ❑ Other European
 ❑ Fijian
                        ❑ Jamaican          ❑ Other Hispanic/Latino
 ❑ Fiiipino

 Right-to-Sue (DFEH 902-6M) Revised 7/2019
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                           DEMOGRAPHIC INFORMATION
    THIS INFORMATION IS OPTIONAL AND IS ONLY USED FOR STATISTICAL PURPOSES.


 DISABILITY:


❑    AIDS or HIV                                ❑ Limbs [Arms / Legs)

❑    Blood / Circulation                        ❑Mental

❑    Brain ! Nerves / Muscles                   ❑Sight

❑    Digestive / Urinary / Reproduction         ❑Speech / Respiration

❑    Hearing                                    ❑Spinal / Back / Respiration

❑    Heart                                      ❑Other Disability


 RELIGION:


❑    Agnostic                                  ❑ Nonreligious

❑    Atheist                                   ❑    Protestantism

❑    Bahai                                     ❑ Primal-indigenous

❑    Buddhism                                  ❑    Quakers

❑    Catholicism                               ❑ Rastafarianism

❑    Christianity                              ❑ Spiritism

❑    Confucianism                              ❑ Shinto

❑    Hinduism                                  ❑ Sikhism

❑    Islam                                     ❑ Taoism

❑    Jehovah's Witness                         ❑ Unitarian-Universalism

❑    Judaism                                   ❑ Zoroastrianism

❑    Neo-Paganism                              ❑ Other



    SEXUAL ORIENTATION:


❑    Straight or Heterosexual    ❑ Gay or Lesbian    ❑ Bisexual      ❑ Other


 Right-to-Sue (DFEH 902-6M) Revised 7/2019
                                                                          Page 10 of 14
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      Brian M. Heit (SNB:302474)
      Heit Law Gl~oup, PC
      340 South Lemon Avenue, Suite 8933
      Walnut,CA 91789
            TELEPHQNE NO.: 310-744-5227                              FAX NO.: (805) 254-1950
      ATrORNEY FOR (Name): AIeXallder Aautrre
 SUPERIOR COURT OF GALIFORNIA, COUNTY OF                      Orange
          STREETADDRESs: 700 W CIviC Center Dr
          MAILINGADDRESS: 700 W CIviC Cent'er Dr
         CITY AND ZIP CODE: Sant,a A        a,   CA 9' 2701
                                                    /~
              BRANCH NAME: Centra l J u$tllre l.,etlter
      CASE NAME:
      Alexander A uirre vs. Wells Far o& Compan , et al.
                                                                                                                       CASE NUMBER:
      CIVIL CASE COVER SHEET                                             Complex Case Designation
  2:1 Unlimited       Limited                                                                                              30-2020-01123351-CU-IA(T-~IC
                                                   ~ Counter            0 Joinder
            (Amount          (Amount
                                                                                                JUDGE: ~~d~0 Gr~gory H. Le~rris
            demanded         demanded is          Filed with first appearance by defendant
            exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)         DEPT.

                                 rrems 7—o oelow musr oe comprerea (see rnsrructions on page Z).
  1. Check one box below for the case type that best describes this case:
     Auto Tort                                   Contract                                Provisionally Complex Civil Litigation
     0 Auto (22)                                 ~     Breach of contract/warranty (06) (Cal. Rules of Court, ruies 3.400-3.403)
     0 Uninsured motorist (46)                   0 Ruie 3.740 collections (09)                 Antitrust/Trade regulation (03)
       Other PIIPDIYYD (Personal InjurylProperty                  0 Other collections (09)                      0 Construction defect (10)
       DamagelWrongful Death) Tort                                     Insurance coverage (18)                        M1dass tort (40)
       ~ Asbestos (04)                                           0 Other contract (37)                                Securities iitigation (28)
       0 Product liability (24)                                  Real Property                                        Environmentallroxic tort (30)
       0 Medical malpractice (45)                                Q Eminent domain/Inverse                             Insurance coverage ciaims arising from the
       ~ Other PI/PD/WD (23)                                           condemnation (14)                              above listed provisionally complex case
                                                                 0 Wrongfli
                                                                        u evction (33)                                 types (41)
        Non-PIlPD/WD (Other) Tort
       0 Business tor+Junfair bu=iness practice (07) ~ Other real property (26)                                 Enforcement of Judgment
       ~ Civil rights (08)                                       Unlawful Detainer                              = Enforcement of judgment (20)
       ~ Defamation (13)                                         0 Commercial (31)                              Miscellaneous Civil Complaint
       ~ Fraud (16)                                              0 Residential (32)                             0 RICO (27)
       ~ Intellectual property (19)                              ~ Drugs (38)                                         Other complaint (not specifred above) (42)
       0 Professional negligence (25)                            Judicial Review                                Mlscellaneous Civil Petition
       0 Other non-PI/PDMID tott()
                                35                               0 Asset forFeiture (05)                        0 Partnership and corporate governance (21)
       ~
       Em loyment                                                        Petition re: arbitration award (11)          Other petition (not specified above) (43)
        , -,
       ~j Wrongful termination (36)                              0 Writ of mandate (02)
       n Other empiovment (15)                                   n Other iudiciai review (39)
 2. This case l-1 is              is not    complex under rule 3.400 of the Cafifornia Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
        a. 0 Large number of separately represented parties                          d. 0 Large number of witnesses
        b.      Extensive motion practice raising difficult or novel                 e.     Coordination with related actions pending in one or more courts
                    issues that will be time-consuming to resolve                             in other counties, states, or countries, or in a federal court
        c. 0 Substantial amount of documentary evidence                              f.        Substantial postjudgment judicial supervision

 3. Remedies sought (check a!1 that apply): af~] monetary b. = nonmonetary; declaratory or injunctive relief c. [] punitive
 4. Number of causes of action (spectfy): 4
 5. This case 0 is         ~ is not a class action suit.
 6. If there are any known related cases, file and serve a notice of related case. (You m                                      ~C 015.)

 Date: O 1 /09/2020
 Brian M. Heit
                                   (TYPE OR PRINT NAME)                                                        (SIGNAT R          7Y ATTORNEY FOR PARTY)


      • Plaintiff must f(le this cover sheet with the first paper filed in the action or proceeding (except smali claims cases or cases filed
        under the Probate Code, Family Code, or Welfare and InstitutEons Code). (Cal. Rules of Court, rule 3.220,) Failure to f(le may result
        in sanctions.
      • File this cover sheet in addition to any cover sheet required by local court rule.
      • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the action or proceeding.
      • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl.
                                                                                                                                                                             aae 7 of 2
 Form Adopted for Mandatory Use                                                                                             Cal. Rules of Court rules 2.30, 3.220, 3.400 3.403, 3.740;
   Judicial Council of Califomia
                                                                  CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Adminislration. sld. 3.10
      CM-010 IRev, July 1. 20071                                                                                                                                 www.coudrnfo.ca.gov
         Case 8:20-cv-00338-JLS-ADS Document 1-1 Filed 02/19/20 Page 34 of 41 Page ID #:43
                                                                                                                           CM-010
                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civi! Case Cover Sheet contained on page 1. This information wi[I be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more speciflc type of case iisted in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civi! Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action_ A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintifPs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex C[vil Litigation (Cal.
     Auto (22)-Personal Injury/Property             Breach of ContracUWarranty (06)                Rules of Coun`. Rules 3.400-3.403)
          DamageMlrongful Death                          Breach of Rental/Lease                         AntitrustlTrade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case Involves an uninsured                             or wrongful evicfion)                  Claims Involving Mass Tort (40)
          motorist ctaim subject to                      Contract/Warranty Breach-Seller                Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        EnvironmentallToxic Tort (30)
          instead ofAuto)                                Negligent Breach of Contract/                  Insurance Coverage C[aims
Other PIlPDIIND (Personal Injury/                            Warranty                                        (arising from provisionally comptex
Property Damage/Wrongful Death)                          Other Breach of ContractNVarranty                   case type tisted above) (41 }
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
         Asbestos Property Damage                        Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
         Asbestos Personal injury/                       Other Promissory Note/Coilectians                         County)
                Wrongful Death                               Case                                            Confession of Judgment (r,on-
     Product Liability (not asbestos or             Insurance Coverage (not provfsionally                          domestic relations)
         foxlcJenvironmental) (24)                       complex) (18)                                       Sister State Jud ment
    Medical Malpractice (45)                             Auto Subrogation                                    Administrative A9enc Y Award
         Medical Malpractice-                            Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                      Petition/Certification of Entry of
         Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                Real Property                                                      Case
     Other PIIPD/WD (23)
         Premises Liability (e.g., slip             Eminent Domain/Inverse                          Misce[laneous Civil Comp[aint
                and fall)                                Condemnation (14)                              RICO (27)
         Intentional Bodiiy Injury/PDMID            Wrongful Eviction (33)                              Other Complaint (not specirted
                (e.g., assauit, vandalism)                                                                   above) (42)
                                                    Other Real Property (e.g., quiet title) (26)
         Intentional Infliction of                                                                           Declaratory Relief Only
                                                        Writ of Possession of Real Property                  Injunctive Relief Oniy (non-
                Emotional Distress                      Mortgage Foreclosure
         Negiigent Infliction of                                                                                   harassment)
                                                         QuietTitle
                Emotional Distress                      Other Real Property (nof eminent                     Mechanics Lien
         Other PI/PD/WD                                 domain, landlord/tenant, or                          Other Commercial Complaint
Non•PIIPDNUD (Other) Tort                               foreclosure)                                               Case (non-tort(non-comptex)
                                                Unlawful Detainer                                            Other Civil Complaint
    Business Tort/Unfair Business                                                                                 (non-tort/non-complex)
        Practice (07)                               Commercial (31)
                                                                                                    Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,            Residential (32)                                     Partnership and Corporate
        faise arrest) (not civil                   Drugs (38) (ifthe case invo/ves illegal
         harassment) (08)                                                                                    Governance (21)
                                                        drugs, check this item; otherwise;              Other Petition (not specified
    Defamation (e.g., siander, libel)                   report as Commercial or Residentiat)                above) (43)
           (13)                                 Judicial Review                                              Civil Harassment
    Fraud (16)                                     Asset Forfeiture (05)                                     Workpiace Violence
    Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
    Professional Negligence (25)                   Writ of Mandate (02)                                            Abuse
        Legal Malpractiee                               Writ-Administrative Mandamus                        Election Contest
        Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Petition for Name Change
             (not medical or legal)                         Case Matter                                     Petition for Relief From Late
     Other Non-PI/PDMID Tort (35)                       Writ-0ther Limited Court Case                              Claim
Employment                                                  Review                                           Other Civil Petition
    Wrongful Termination (36)                      Other Judiciai Review (39)
    Other Employment (15)                               Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                           Commissioner Appeals
CM-010 [Rev. July 1, 20071                                                                                                              Pege 2of 2
                                                    CIVIL CASE COVER SH EET
. 3(           CaseElectronically Filed by Superior Court of California, County of Orange, 01/09/2020 04:58:52 PM.
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          Brian M. Heit (SNB:302474)
          Heit Law Group, PC
          340 South Lemon Avenue. Suite 8933
          Walnut,CA 91789
                TELEPHONE NO.: 3 10-744-5227                               FAx No.: (805) 254-1950
         ATTORNEY FOR (Name): Alexallder A uirre
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF                   Orange
              STREETADDRE6s: 700 W CiviC Center Dr
             MAILING ADDRESS: 700 W CI viC Center Dr
             CITY AND ZIP CODE: Sant.a A Ila, CA 92701
                 BRANCH NAME: Central .lustice Center
          CASE NAME:
         Alexander A uirre vs. Wells Far o& Company, et al.
                                                                                                                            CASE NUMBER:
          CIVIL CASE COVER SHEET                                               Complex Case Designation
        ✓ Un{imited
       [~                0 Limited                                                                                              30-2020-01123351-OU-lNT-~IC
           (Amount                                                        ~ Counter            ~ Joinder
                             (Amount
                                                                                                                                JuoGE: a~+d9e Gr~9ory H. Le~rvis
           demanded          demanded is                                Filed with first appearance by defendant
           exceeds $25,000)  $25,000 or less)                               (Cal. Rules of Court, rule 3.402)                    DEPT.
                                                    fterrlS 7—o Ut31vW rrruSt Ue cfJrrUJfeieu fS66 rrlSuucUDnS on Ad(.76 L).
           Check one box beiow for the case type that best describes this case:
           Auto Tort                                   Contract                                                      Provisionally Complex Civil LPtigation
           0 Auto (22)                                 0 Breach of contract/warranty (06)                            (Cal. Rules of Court, rules 3.400-3.403)
           ~ Uninsured motorist (46)                         Rule 3.740 collections (09)                             ~ Antitrust/Trade regulation (03)
           Other PI/PDIWD (Personal Injury/Property    0 Other collections (09)                                      ~ Construction defect (10)
           DamageANrongful Death) Tort                                         Insurance coverage (18)               0 Mass tort (40)
           ~ Asbestos (04)                                      Q Other contract (37)                                ~ Securities litigation (28)
           ~ Product liability (24)                             Real Property                                        ~ Environmental/Toxic tort (30)
           0 Medical malpractice (45)                           Q Eminent domain/Inverse                             ~ Insurance coverage claims arising from the
           0 Other PI/PDNVD (23)                                      condemnation (14)                                    above listed provisionally complex case
                                                                ~ Wrongful eviction (33)                                   types (41)
           Non-PIIPDNVD (Other) Tort
           0        Business tort/unfair business practics (07) ~ Other real property (26)                           Enforcement of Judgment
           ~        Civil rights (08)                           Unlawful Detainer                                    0 Enforcement of judgment (20)
           ~        Defamation (13)                             ~ Commercial (31)                                    Mlscellaneous Civil Complaint
           ~        Fraud (16)                                  0 Residential (32)                                   ~ RICO (27)
           ~ Intellectual property (19)                               0 Drugs (38)                                   ~ Other complaint (not specified above) (42)
           ~ Professional negligence (25)                             Judicial Review                                Miscellaneous Civil Petition
           ~ Other non-PIlPD/WD tort (35)                             0 Asset forfeiture (05)                        0 Partnership and corporate govemance (21)
            Em loyment                                                       Petition re: arbitration award (11)     ~ Other petition (not speciried above) (43)
           r—
           I ✓ I Wrongful termination (36)                                   Writ of mandate (02)
           0 Other employment (15)                                           Other judicial review (39)
       2_ This case LJ is                          is not       comolex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            factors requiring exceptional judicial management:
            a.        Large number of separately represented parties   d. [] Large number of witnesses
            b. [] Extensive motion practice raising difficult or novel e.      Coordination with reiated actions pending in one or more courts
                    issues that wili be time-consuming to resolve                                  in other counties, states, or countries, or in a federal court
            c. 0 Substantial amount of documentary evidence                               f.      Substantial postjudgment judicial supervision

            Remedies sought (check all that apply): a. ✓ ~ monetary b. = nonmonetary; declaratory or injunctive relief C. = punitive
            Number of causes of action (specify): 4
            This case = is EL is not a class action suit.
            If there are any known related cases, file and serve a notice of reiated case. (You m~rrr,(C 095.)
       Date: O 1 /09/2020
   Brian M. Heit
                                         (TYPE OR PRINT NAME)                                                      •(SIGNAT R            TY Cp ATTORNEY FOR PARTY)
                                                                                         NOTICE
         • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small ciaims cases or cases fiied
            under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to fiie may result
           in sanctions.
         • File this cover sheet in addition to any cover sheet required by local court rule.
         • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
           other parties to the action or proceeding.
         • Unless this is a cwllections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
       Fonn Adopted for Mandatory Use                                                                                             Cal. Rules of Coun. rules 2.30, 3,220, 3.400~.403, 3.740;
         Judicial Council of Catilomia                                 CIVIL CASE COVER SHEET                                            Cal. Slandards of Judicial Atlminisfration, sttl. 3.10
          CM-010 iRev. July 1, 20071                                                                                                                                    www.coudinfo.ca.gov
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                                                                                                                                            CM-010
                                         INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civi! Case Cover Sheet contained on page 1. This informafion will be used to compile
statistics about the types and numbers of cases fled. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case iisted in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong .under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rufes of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and aftorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that Et will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requitements for service and obtaining a judgment in rule 3.740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civi! Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the Califomia Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiff s designation, a counter-designation that the case is not complex, ar, if the pfaintiff has made no designation, a designation that
the case is complex.                                       ,. A 0= T.,n=O   A\IP1 C V AUNnI   r_c.
Auto Tort                                        Contract                                            Provisionalty Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)                 Rules of Court Rules 3.400-3.403)
           DamagelWrongful Death                          Breach of Rental/Lease                          AntitrustlTrade Regulation (03)
       Uninsured Motorist (46) (if the                       Contract (not unlawful detainer              Construction Defect (10)
        case involves an uninsured                               or wrongful eviction)                    Claims Involving Mass Tort (40)
        motorist claim subject to                         Contract/Warranty Breach—Seller                 Securities Litigation (28)
        arbitration, check this item                         Plaintiff (not fraud or negligence)          Environmental/Toxic Tort (30)
        instead ofAuto)                                   Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PDMlD (Personal Injuryl                             Warranty                                         (arising from provisionally comp/ex
Property DamageMlrongful Death)                           Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
    Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
        Asbestos Property Damage                         Collection Case—Seller Plaintiff                     Abstract of Judgment (Out of
        Asbestos Personal lnjury/                        Other Promissory NotelCollecticns                          County)
              Wrongful Death                                  Case                                            Confession of Judgment (non-
    Product Liability (not asbestos or               Insurance Coverage (not provisionally                          domestic relations)
        toxidenvironmental) (24)                         complex) (18)                                        Sister State Jud ment
   Medical Malpractice (45}                              Auto Subrogation                                     Administrative A9encY Award
        Medical Malpractice—                             Other Coverage                                           (not unpaid taxes)
              Physicians & Surgeons                  Other Contract (37)                                      Petition/Certification of Entry of
        Other Professional Health Care                   Contractual Fraud                                        Judgment on Unpaid Taxes
              Malpractice                                Other Contract Dispute                               Other Enforcement of Judgment
                                                            e
                                                 Real Pro prty                                                      Case
    Oiher PI/PD/WD (23)
        Premises Liability (e.g„ slip                Eminent Domain/lnverse                           Miscellaneous Civil Com laint
              and fall)                                  Condemnation (14)                               RICO (27)                p
        Intentional Bodily Injury/PDNVD             Wrongful Eviction (33)                               Ather Complaint (not specffied
              (e.g., assault, vandalism)                                                                      above) (42)
                                                     Other Real Property (e.g., quiet title) (26)
        Intentional Infliction of                                                                             Declaratory Relief Only
                                                         Writ of Possession of Real Property
              Emotional Distress                                                                              Injunctive Relief Only (non-
                                                         Mortgage Foreclosure
        Ne9li 9ent InFliction of                                                                                    harassment)
                                                         QuietTitle
              Emotional Distress                                                                              Mechanics Lien
                                                         Other Real Property (not eminent
        Other PI/PDMlD                                   domain, landlord/tenant, or                          Other Commercial Complaint
                                                         foreclosure)                                               Case (non-torUnon-complex)
Non-PIlPDMfD (Other) Tort
                                                 Unlawful Detainer                                            Other Civil Complaint
   Business Tort/Unfair Business                                                                                   (non-tort/non-complex)
       Prad ice (07)                                Commercial (31)
                                                                                                      Miscellaneous Civil Petition
   Civil Rights (e.g., discrimination,              Residential (32)                                     Partnership and Corporate
       false arrest) (not civil                     Drugs (38) (ifthe case involves illegal                   Governance (21)
        harassment) (08)                                  drugs, check this ftem; otherwise;             Other Petition (not specified
   Defamation (e.g., slander, libel)                     report as Commercial or Residential)                 above) (43)
         (13)                                    Judicial Review                                              Civil Harassment
   Fraud (16)                                       Asset Forfeiture (05)                                    Workplace Violence
   Intellectual Property (19)                       Petition Re: Arbitration Award (91)                      Elder/Dependent Adult
   Professional Negligence (25)                     Writ of Mandate (02)                                            Abuse
          Legal Malpractice                              Writ—Administrative Mandamus                         Election Contest
      Other Professional Malpractice                    Writ—IVlandamus on Limited Court
                                                                                                              Petition for Name Change
          (not medical or legal)                            Case Matter                                       Petition for Relief From Late
   Other Non-PI/PD/WD Tort (35)                         Writ-0ther Limited Court Case                              Claim
Employment                                                  Review                                            Other Civil Petition
   Wrongful Termination (36)                         Other Judicial Review (39)
   Other Employment (15)                                Review of Health Officer Order
                                                          ivuucx uI ,rWpaar~auor
                                                             COmmISSlOner Appeals
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                                                     CIVIL CASE COVER SHEET
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                                SUPERIOR COURT OF CALIFORNIA
                                     COUNTY OF ORANGE

                    ALTERNATIVE DISPUTE RESOLUTION (ADR)
                           INFORMATION PACKAGE

 NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):

 Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the ADR
 Information Package along with the complaint and/or cross-complaint.

                                 California Rules of Court — Rule 3.221
                        Information about Alternative Dispute Resolution (ADR)

 (a) Each court shall make available to the plaintiff, at the time of filing of the complaint, an
 ADR Information Package that includes, at a minimum, all of the following:

    (1) General information about the potential advantages and disadvantages of ADR and
    descriptions of the principal ADR processes.

    (2) Information about the ADR programs available in that court, including citations to any
    applicable local court rules and directions for contacting any court staff responsible for
    providing parties with assistance regarding ADR.

    (3) Information about the availability of local dispute resolution programs funded under the
    Dispute Resolutions Program Act (DRPA), in counties that are participating in the DRPA.
    This information may take the form of a list of the applicable programs or directions for
    contacting the county's DRPA coordinator.

    (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR process.

 (b) A court may make the ADR Information Package available on its Web site as long as paper
 copies are also made available in the clerk's office.

 (c) The plaintiff must serve a copy of the ADR Information Package on each defendant along
 with the complaint. Cross-complainants must serve a copy of the ADR Information Package on
 any new parties to the action along with the cross-complaint.




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                                 SUPERIOR COURT OF CALIFORNIA
                                      COUNTY OF ORANGE

                                             ADR Information

 Introduction.

 Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
 The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
 resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
 a trial. ADR can also give people more opportunity to determine when and how their dispute will be
 resolved.

 BENEFITS OF ADR.

 Using ADR may have a variety of benefits, depending on the type of ADR process used and the
 circumstances of the particular case. Some potential benefits of ADR are summarized below.

 Save Time. A dispute often can be settled or decided much sooner with ADR; often in a matter of
 months, even weeks, while bringing a lawsuit to trial can take a year or more.

 Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
 they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses.

 Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
 shaping both the processiand its outcome. In most ADR processes, parties have more opportunity to tell
 their side of the story thari they do at trial. Some ADR processes, such as mediation, allow the parties to
 fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
 allow the parties to choose an expert in a particular field to decide the dispute.

 Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
 example, an experienced mediator can help the parties effectively communicate their needs and point of
 view to the other side. This can be an important advantage where the parties have a relationship to
 preserve.

 Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to be
 happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
 find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
 advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
 outcome.

 Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as
 problem-solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to
 produce happier clients and thus generate repeat business from clients and referrals of their friends and
 associates.

 DISADVANTAGES OF ADR.

 ADR may not be suitable for every dispute.

 Loss of protections. If ADR is binding, the parties normally give up most court protections, including a
 decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
 appellate court.


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 Less discovery. There generally is less opportunity to find out about the other side's case with ADR
 than with litigation. ADR may not be effective if it takes place before the parties have sufficient
 information to resolve the dispute.

 Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
 through ADR, the pan`.ies may have to put time and money into both ADR and a lawsuit.

 EfPect of delays if the dispute is not resolved. Lawsuits must be brought within specified periods of
 time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
 a dispute is in an ADR process.

 TYPES OF ADR IN CIVIL CASES.

 The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
 conferences.

 Arbitration. In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
 each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
 of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
 means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final.
 Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
 parties are free to request a trial if they do not accept the arbitrator's decision.

     Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
     want another person to decide the outcome of their dispute for them but would like to avoid the
     formaiity, time, and expense of a trial. It may also be appropriate for complex matters where the
     parties want a decision-maker who has training or experience in the subject matter of the dispute.

     Cases for Which Arbitration May Not Be Appropriate. If parties want to retain control over how
     their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
     arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
     evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
     more favorable result at trial than in arbitration, there may be penalties.

 Mediation. In mediation, an impartial person called a"mediator" helps the parties try to reach a mutually
 acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
 communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
 with the parties.

     Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
     parties have a relationship they want to preserve. So when family members, neighbors, or business
     partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
     emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
     them communicate with each other in an effective and nondestructive manner.

     Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
     parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
     parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
     the parties have a history of abuse or victimization.

 Neutral Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
 person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
 each party's evidence and arguments and about how the dispute could be resolved. The evaluator is


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 often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
 parties typically use it as a basis for trying to negotiate a resolution of the dispute.

     Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
     appropriate in cases in which there are technical issues that require special expertise to resolve or
     the only significant issue in the case is the amount of damages.

     Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
     appropriate when there are significant personal or emotional barriers to resolving the dispute.

 Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
 of settlement conferences, the pariies and their attorneys meet with a judge or a neutral person called a
 "settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
 not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
 case and in negotiating a settlement. Settlement conferences are appropriate in any case where
 settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
 for trial.

 ADDITIONAL INFORMATION.

 In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
 of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
 a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
 likely to resolve your dispute.

 To locate a dispute resolution program or neutral in your community:
     • Contact the California Department of Consumer Affairs, Consumer Information Center, toll free,
         1-800-852-5210
     • Contact the Orange County Bar Association at (949) 440-6700
     • Look in the Yellow Pages under "Arbitrators" or "Mediators"

 Free mediation services are provided under the Orange County Dispute Resolution Program Act (DRPA)
 For information regarding DRPA, contact:
     • Community Service Programs, Inc. (949) 851-3168
     • Orange County Human Relations (714) 834-7198

 For information on the Superior Court of California, County of Orange court ordered arbitration program,
 refer to Local Rule 360.

 The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
 (ENE). For the Civil Mediation program, mediators on the Court's panel have agreed to accept a fee of
 $300 for up to the first two hours of a mediation session. For the ENE program, members of the Court's
 panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
 information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE) pilot
 programs is available on the Court's website at www.occourts.org.




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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name & Address):                                             FOR COURT USE ONLY



Telephone No.:                                  Fax No. (Optional):
E-Mail Address (Optional):
ATTORNEY FOR Name :                                       Bar No:

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
JUSTICE CENTER:
❑ Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045
❑ Civil Complex Center - 751 W. Santa Ana Blvd., Santa Ana, CA 92701-4512
❑ Harbor-Laguna Hills Facility — 23141 Moulton Pkwy., Laguna Hills, CA 92653-1251
❑ Harbor— Newport Beach Facility — 4601 Jamboree Rd., Newport Beach, CA 92660-2595
❑ North — 1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500
❑ West-8141 13w Street, Westminster, CA 92683-0500


PLAINTIFF/PETITIONER:

DEFENDANT/RESPONDENT:
                                                                                          CASE NUMBER:
ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION


Plaintiff(s)/Petitioner(s)



and defendant(s)/respondent(s),



agree to the following dispute resolution process:

❑ Mediation

❑ Arbitration (must specify code)
                ❑ Under section 1141.11 of the Code of Civil Procedure
                ❑ Under section 1280 of the Code of Civil Procedure

❑ Neutral Case Evaluation

The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
was referred, whichever is sooner.                  ,

❑ I have an Order on Court Fee Waiver (FW-003) on file, and the selected ADR Neutral(s) are eligible to provide
pro bono services.

❑ The ADR Neutral Selection and Party List is attached to this Stipulation.

We understand that there may be a charge for services provided by neutrals. We understand that participating in
an ADR process does not extend the time periods specified in California Rules of Court rule 3.720 et seq.

Date:
                               (SIGNATURE OF PLAINTIFF OR ATTORNEY)              (SIGNATURE OF PLAINTIFF OR ATTORNEY)

Date:
                               (SIGNATURE OF DEFENDANT OR ATTORNEY)              (SIGNATURE OF DEFENDANT OR ATTORNEY)




                      ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
Approved for Optional Use                                                                   California Rules of Court, rule 3.221
L1270 (Rev. January 2010)
